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16                       UNITED STATES DISTRICT COURT
17                    SOUTHERN DISTRICT OF CALIFORNIA
18
     CARLOS VICTORINO, et al.              Case No. 3:16-cv-01617-GPC-JLB
19
20               Plaintiffs,               NOTICE OF MOTION AND MOTION
                                           FOR SANCTIONS FOR SPOLIATION
21   v.                                    OF EVIDENCE
22
     FCA US LLC,                           Complaint Filed: June 24, 2016
23
                 Defendant.                Trial Date:         None Set
24                                         Hearing Date:       October 13, 2017
25                                         Time:               1:30 p.m.
                                           Courtroom:          2D
26                                         Judge:              Hon. Gonzalo P. Curiel
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             NOTICE OF MOTION AND MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE
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 1   TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that, on October 13, 2017 at 1:30 p.m. or as soon
 3   thereafter as this matter may be heard, in Courtroom 2D of the United States District
 4   Court for the Southern District of California, located at 221 West Broadway, San
 5   Diego, CA 92101, Defendant FCA US LLC will, and hereby does, move for an
 6   order granting FCA US’s motion for sanctions for spoliation of evidence.
 7         This Motion is based on this Notice of Motion and Motion, the Memorandum
 8   of Points and Authorities in support thereof, the Declaration of Scott H. Morgan and
 9   attached exhibits, all pleadings and papers filed in this action, and such other and
10   further matters as the Court may consider.
11
12   Dated: August 22, 2017           HIGGS FLETCHER & MACK LLP
13
                                By:    /s/ Edwin Boniske
14                                    William M. Low (Bar No. 106669)
                                      Edwin Boniske (Bar No. 265701)
15
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17                                    Kathy A. Wisniewski
                                      Stephen A. D’Aunoy
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19                                    Scott H. Morgan
                                      Attorneys for FCA US LLC
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              NOTICE OF MOTION AND MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE
 Case 3:16-cv-01617-GPC-JLB Document 116 Filed 08/22/17 PageID.2572 Page 3 of 3




 1                             CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the foregoing
 3   was served on August 22, 2017 on all counsel of record, who are deemed to have
 4   consented to electronic service via the Court’s CM/ECF system per Civ.L.R. 5.4(d).
 5
 6                             By:    /s/ Edwin Boniske
 7                                   Edwin Boniske (Bar No. 265701)
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              NOTICE OF MOTION AND MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE
